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                        UNITED STATES DISTRICT COURT

                         SOUTHERN DISTRICT OF TEXAS

                               HOUSTON DIVISION


In re PLAINS ALL AMERICAN PIPELINE, § Lead Case No. 4:15-cv-02404
L.P. SECURITIES LITIGATION          §
                                    § CLASS ACTION
                                    §
This Document Relates To:           § Judge Lee H. Rosenthal
                                    §
        ALL ACTIONS.                §
                                    §




                              NOTICE OF APPEAL




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        Notice is hereby given that Lead Plaintiff IAM National Pension Fund, and Named Plaintiffs

City of Warren Police and Fire Retirement System, Police and Fire Retirement System of the City of

Detroit, Jacksonville Police and Fire Pension Fund, and Ming Liu, on behalf of themselves and all

others similarly situated, appeal to the United States Court of Appeals for the Fifth Circuit from the

judgment entered in this action on March 30, 2018 (ECF No. 156), including the memorandum and

opinion granting dismissal entered on the same date (ECF No. 155) and the memorandum and

opinion granting dismissal without prejudice on March 29, 2017 (ECF No. 136).

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                                  CERTIFICATE OF SERVICE
        I hereby certify that on May 1, 2018, I authorized the electronic filing of the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to the

e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I

caused to be mailed the foregoing document or paper via the United States Postal Service to the non-

CM/ECF participants indicated on the attached Manual Notice List.

        I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on May 1, 2018.

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Mailing Information for a Case 4:15-cv-02404 City of Birmingham Firemen's and Policemen's Supplemental
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